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 4                         UNITED STATES DISTRICT COURT
 5                       EASTERN DISTRICT OF WASHIGNTON
 6
 7   UNITED STATES OF AMERICA,                       No. 2:17-CR-00229-TOR-18
 8
 9                       Plaintiff,                  ORDER GRANTING MOTION FOR
                                                     MODIFICATION OF RELEASE
10                       v.                          CONDITIONS
11   DUANE EDWARD GRAY,
                                                             MOTION GRANTED
12                                                             (ECF No. 348)
13                       Defendant.
14
15         Before the Court is Defendant’s Motion to Modify Release Conditions. ECF
16   No. 348. In his motion, Defendant asks the Court to modify Condition of Release
17   Number 14, which requires him to remain in the Eastern District of Washington
18   unless otherwise given permission by the Court to travel outside the District. ECF
19   No. 275 at 3.
20         Specifically, Defendant is asking the Court to modify the condition to allow
21   him to travel outside the Eastern District of Washington at the discretion of his
22   Supervising Probation Officer. ECF No. 348 at 1. Defendant has two children in
23   Salem, Oregon that he wishes to visit. ECF No. 348 at 1.
24         Defendant recites that neither the United States nor U.S. Probation oppose
25   this request. ECF No. 348 at 2.
26         Therefore, IT IS ORDERED, that Defendant’s Motion, ECF No. 348, is
27   GRANTED. Defendant is permitted travel outside the Eastern District of
28   Washington with the prior permission of his supervising Pretrial Services Officer.

     ORDER - 1
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 1   In the event of any approved travel, Defendant shall provide Pretrial Services with
 2   the name and contact information of the landlord where he will reside and with a
 3   telephone number where he may be contacted at any time during his trip.
 4         All other terms and conditions of pretrial release not inconsistent herewith
 5   shall remain in full force and effect.
 6         IT IS SO ORDERED.
 7         DATED March 8, 2018.
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 9                                _____________________________________
                                            JOHN T. RODGERS
10                                 UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
